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                                     OFFICE OF THE CIRCUIT MEDIATORS
                                 UNITED STATES COURT OF APPEALS
                                     FOR THE SIXTH CIRCUIT
                                      331 POTTER STEWART U.S. COURTHOUSE
CATHERINE C. GEYER                         100 EAST FIFTH STREET                     TELEPHONE (513) 564-7330
 Chief Circuit Mediator                 CINCINNATI, OHIO 45202-3988                        FAX (513) 564-7349
KATHRYN L. WOLLENBURG                CA06-MEDIATION@CA6.USCOURTS.GOV
SCOTT COBURN
JOHN A. MINTER
                                                   March 2, 2023

David A. Campbell, III
John Koe
Donald Gabriel Slezak

        Re: John Koe v. University Hospitals Health Systems, Inc., et al, CA No. 22-3952

                                   MEDIATION CONFERENCE NOTICE

Dear John Koe and Counsel:

DATE AND TIME

        Pursuant to Federal Rule of Appellate Procedure 33 and Sixth Circuit Rule 33, a VIDEO mediation
conference has been scheduled in this case for March 31, 2023 at 9:30 AM EASTERN TIME. A conference
invitation will be provided prior to the conference. Each party is required to submit a Confidential Mediation
Background Information Form by March 24, 2023 (see additional information regarding Mediation Background
Information Forms below). You should allow at least two hours for the conference.
        To ensure a quality and effective online mediation experience, the following are expected:
           1.   Access to a computer with a camera, microphone, and sufficient battery life for a two-hour conference;
           2.   A stable, secure internet connection;
           3.   A fixed, quiet place to engage in mediation; and
           4.   A technology hiatus from non-case related email and telephone usage during the mediation.
        If any of the above items cannot be met, contact the Mediation Office to discuss.
       Recording of the mediation conference is prohibited. All persons participating or present in the
mediation conference must be identified and agree to the confidentiality provisions regarding mediation
communications.
PURPOSES

        There are several purposes for mediation conferences. One is to prevent unnecessary motions or delay by
addressing any procedural issues relating to the appeal. A second is to identify and clarify the main substantive
issues presented on appeal. The third and primary purpose is to explore possibilities for settlement. We will
discuss in considerable detail the parties’ interests and possible bases for resolving the case. You should be prepared
to address all of these matters. More detailed information about mediation in the Sixth Circuit can be found on our
website under the tab About Mediation Conferences located at https://www.ca6.uscourts.gov/mediation.
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PARTICIPATION BY COUNSEL

        When a party is represented by counsel, our goal is to secure the participation of counsel on whose advice
the clients will most directly rely in making decisions about settlement. If more than one attorney is involved,
the attorney with the most direct relationship with the client is required to participate in the conference and
should be listed as Lead Mediation Counsel on the Mediation Background Form. At least one participating
attorney MUST file an appearance in this case. All attorneys who will participate in the conference must be
listed on the Form, along with their contact information.
CLIENT PARTICIPATION
        Settlement decisions are necessarily made in close consultation with clients, so their attendance/
participation in mediation is strongly encouraged and expected. If you believe this is the unusual case in which
such participation would be counterproductive, contact the mediator directly before the conference to discuss your
concerns. Even in those cases, however, your client should remain available by telephone for the entirety of the
conference.
CONVERSION TO IN-PERSON CONFERENCES
       Initial conferences typically are conducted by video or telephone for the convenience of litigants and
counsel. If you think an in-person mediation would enhance the likelihood of settlement, please call the
undersigned mediator. If all parties and the mediator agree, the mediation will be changed to an in-person
conference on a date and at a location that is mutually agreeable.
RESCHEDULING
        If the date and time of the mediation conference present an unavoidable conflict with a previously scheduled
court appearance or commitment, you are required to contact the Mediation Administrator, Connie Weiskittel, at
CA06-Mediation@ca6.uscourts.gov, by March 7, 2023 to advise of the conflict and request that the mediation
conference be rescheduled. When we are notified of such conflicts in a timely manner, we will provide you with
alternative dates and times. You are then responsible for contacting the opposing party/parties to inquire as to their
availability — until a new date is determined, the mediation will go forward as originally scheduled. Once you
advise our office of the new date and time, we will then send a notice confirming the change.
        Be advised that we may be unable to accommodate untimely requests for rescheduling.
CONFIDENTIAL MEDIATION BACKGROUND INFORMATION FORM
        All parties are required to submit a Mediation Background Information Form by March 24, 2023 which
can be downloaded from the Court’s website. Please submit the Form directly to the Mediation Office by email,
fax or mail — do NOT file or otherwise disclose it to the Court. Providing all of the requested information and
submitting the Form in a timely manner is essential to maximizing the likelihood of success in mediation. Except
to the extent authorized by the party, information in the Form will be held confidential and will not be shared with
other parties or their counsel.

        Thank you for your careful attention to these matters.
                                                                        Sincerely,



                                                                        John Minter


lmr
cc:     Virginia Padgett, Case Manager
